     Case 2:05-cr-00125-JCM-RJJ         Document 111     Filed 09/27/10    Page 1 of 1



 1                                UNITED STATES DISTRICT COURT

 2                                          DISTRICT OF NEVADA

 3
      UNITED STATES OF AMERICA
 4
                            Plaintiff(s),
 5

 6
      VS.                                                        2:05-cr-125-JCM-RJJ
 7
      AMBER MCDEARMON ET AL
 8

 9
                          Defendant(s),
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11
                        SEALED ORDER FOR DESTRUCTION OF EXHIBITS
12
            The Clerk's Office having given notice to counsel as prescribed by LR 79-1 and LCR
13
     55-1 of the Local Rules of Practice of this Court, and counsel having failed to make
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     arrangements to retrieve the exhibits in the allotted time, IT IS HEREBY ORDERED that the
15
     Clerk is authorized to destroy the exhibits previously admitted in this matter.
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17   Dated: September 27, 2010
                                                 U.S. DISTRICT JUDGE
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